     Case 1:14-cr-00101-DAD-BAM Document 311 Filed 08/18/17 Page 1 of 3


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 7

 8                                        UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:14-CR-00101-DAD-BAM

12                           Plaintiff,

13             v.                                        PRELIMINARY ORDER OF FORFEITURE

14    TIMOTHY ORTIZ,

15                           Defendant.

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18             Based upon the plea agreement entered into between United States of America and

19    defendant TIMOTHY ORTIZ, it is hereby

20             ORDERED, ADJUDGED AND DECREED as follows:

21             1.       Pursuant to 18 U.S.C. §§ 982(a)(1), 981(a)(1)(C), 21 U.S.C. § 334, 28 U.S.C. §

22    2461(c), and Fed. R. Crim. P. 32.2(b) defendant TIMOTHY ORTIZ’s interest in the following

23    property shall be condemned and forfeited to the United States of America, to be disposed of

24    according to law:

25                      a. All right, title, and interest in any article of drug that is misbranded when
                           introduced into or while in interstate commerce or while held for sale (whether
26                         or not the first sale) after shipment in interstate commerce, or which may not
                           be introduced into interstate commerce, and
27
                        b. A personal forfeiture money judgment against defendant TIMOTHY ORTIZ in
28                         the amount of $137,110.58.
     PRELIMINARY ORDER OF FORFEITURE                     1
     Case 1:14-cr-00101-DAD-BAM Document 311 Filed 08/18/17 Page 2 of 3


 1             2.       Asset (a) constitutes property involved in or is property that facilitated a violation

 2    of 21 U.S.C. §§ 331(a) and 333(a)(2), and 18 U.S.C. § 1957, or is traceable to such violations.

 3    Asset (b) constitutes the amount derived from proceeds traceable to a violation of 18 U.S.C. §

 4    371.

 5             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

 6    authorized to seize the above-listed property. The aforementioned property shall be seized and

 7    held by the U.S. Marshals Service, Drug Enforcement Administration, Internal Revenue Service

 8    – Criminal Investigations, or Homeland Security Investigations of Immigration and Customs

 9    Enforcement in its secure custody and control.

10             4.       a. Pursuant to 18 U.S.C. § 982(b), and 28 U.S.C. § 2461(c), incorporating 21

11    U.S.C. § 853(n), and Local Rule 171, the United States shall publish notice of the order of

12    forfeiture. Notice of this Order and notice of the Attorney General’s (or a designee’s) intent to

13    dispose of the property in such manner as the Attorney General may direct shall be posted for at

14    least 30 consecutive days on the official internet government forfeiture site www.forfeiture.gov.

15    The United States may also, to the extent practicable, provide direct written notice to any person

16    known to have alleged an interest in the property that is the subject of the order of forfeiture as a

17    substitute for published notice as to those persons so notified.

18                      b. This notice shall state that any person, other than the defendant, asserting a

19    legal interest in the above-listed property, must file a petition with the Court within sixty (60)

20    days from the first day of publication of the Notice of Forfeiture posted on the official
21    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

22    whichever is earlier.

23             5.        If a petition is timely filed, upon adjudication of all third-party interests, if any,

24    this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. §§ 982(a)(1),

25    981(a)(1)(C), 21 U.S.C. § 334, 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b), in which all

26    interests will be addressed.
27             6.       The government, in its discretion, shall conduct discovery, including written

28    discovery, the taking of depositions, and the issuance of subpoenas, in order to identify, locate
     PRELIMINARY ORDER OF FORFEITURE                        2
     Case 1:14-cr-00101-DAD-BAM Document 311 Filed 08/18/17 Page 3 of 3


 1    or dispose of property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal

 2    Rules of Criminal Procedure.

 3    IT IS SO ORDERED.
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          Dated:       August 18, 2017
 5                                                         UNITED STATES DISTRICT JUDGE

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     PRELIMINARY ORDER OF FORFEITURE                   3
